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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                                 Eastern Division

Metropolitan Life Insurance Company
                                           Plaintiff,
v.                                                         Case No.: 1:19−cv−01772
                                                           Honorable Edmond E. Chang
Helana Tsoukalas, et al.
                                           Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, December 4, 2019:


       MINUTE entry before the Honorable Edmond E. Chang: Status hearing held.
Counsel for Defendants Jordyn Tsoukalas and A.T. advised he received some screen shots
from non−party Prudential and will be serving a new subpoena on Prudential by
12/06/2019. If Prudential does not respond in a timely or full way, then counsel shall file
an appropriate motion to compel by 01/09/2020. As stated on the record, the Court would
be happy to facilitate (including phone appearances) FRCP 45(f) transfer of any motion to
compel compliance with subpoenas. By 01/21/2020, the parties shall file a Deposition
Scheduling Report listing the depositions that have been taken, with dates taken, and the
*confirmed* dates of the remaining depositions. Any person not on that report with a
confirmed date will presumptively not be deposed unless there is good cause shown (e.g.,
genuine surprise). Fact discovery is extended to 02/24/2020, but the parties shall schedule
any deposition that is not contingent on the Prudential records by 12/18/2019, to take
place by 01/21/2020. Status hearing set for 01/23/2020 at 9:00 a.m. Mailed notice (mw, )




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